      Case 18-22567                Doc 10           Filed 08/15/18 Entered 08/15/18 23:51:57                          Desc Imaged
                                                    Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1              June M Lane                                                       Social Security number or ITIN        xxx−xx−5925
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Illinois
                                                                                        Date case filed for chapter 7 8/10/18
Case number:          18−22567


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       June M Lane

2.      All other names used in the
        last 8 years

3.     Address                               8327 S. Hermitage
                                             Chicago, IL 60620

4.     Debtor's attorney                     David Gallagher                                        Contact phone 312−546−4264
                                             UpRight Law                                            Email: dgallagher@uprightlaw.com
       Name and address                      79 W. Monroe
                                             5th Floor
                                             Chicago, IL 60603

5.     Bankruptcy trustee                    Steven R Radtke                                        Contact phone 312−346−1935
                                             Chill, Chill & Radtke PC                               Email: sradtke@chillchillradtke.com
       Name and address                      79 W Monroe Street Suite 1305
                                             Chicago, IL 60603
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                                  Certificate of Notice Page 2 of 3
Debtor June M Lane                                                                                                         Case number 18−22567


6. Bankruptcy clerk's office                    Eastern Division                                             Hours open: 8:30 a.m. until 4:30
                                                219 S Dearborn                                               p.m. except Saturdays, Sundays
    Documents in this case may be filed at this 7th Floor                                                    and legal holidays.
    address. You may inspect all records filed Chicago, IL 60604
    in this case at this office or online at
    www.pacer.gov.                                                                                           Contact phone 1−866−222−8029

                                                                                                             Date: 8/13/18

7. Meeting of creditors                          September 10, 2018 at 01:30 PM                              Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              219 South Dearborn, Office of
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            the U.S. Trustee, 8th Floor, Room
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     800, Chicago, IL 60604
                                                 Debtors must bring a picture ID and proof of
                                                 their Social Security Number.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 11/9/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
          Case 18-22567            Doc 10       Filed 08/15/18 Entered 08/15/18 23:51:57                         Desc Imaged
                                                Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 18-22567-ABG
June M Lane                                                                                                Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: ckeith                       Page 1 of 1                          Date Rcvd: Aug 13, 2018
                                      Form ID: 309A                      Total Noticed: 19


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 15, 2018.
db             +June M Lane,   8327 S. Hermitage,    Chicago, IL 60620-4630
26980434       +Anselmo Lindberg and Associates,    1771 W. Diehl Rd, Ste 120,    Naperville, IL 60563-4917
26980435       +Atg Credit,   1700 West Cortland Street,    Suite 201,    Chicago, IL 60622-1166
26980438       +Credence Resource Management,    Po Box 2300,   Southgate, MI 48195-4300
26980445       +Mr. Cooper,   Attn: Bankruptcy,    8950 Cypress Waters Blvd,    Coppell, TX 75019-4620
26980448       +South Shore Bank,   Attn: Bankruptcy,    Po Box 151,   Weymouth, MA 02188-0904
26980451       +Univeristy of Illinois Hospital,    7705 Solution Center,    Chicago, IL 60677-0001

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: dgallagher@uprightlaw.com Aug 14 2018 01:15:16        David Gallagher,    UpRight Law,
                 79 W. Monroe,    5th Floor,   Chicago, IL 60603
tr             +EDI: QSRRADTKE.COM Aug 14 2018 04:43:00       Steven R Radtke,    Chill, Chill & Radtke PC,
                 79 W Monroe Street Suite 1305,    Chicago, IL 60603-4925
26980436       +EDI: CAPITALONE.COM Aug 14 2018 04:43:00       Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
26980437       +EDI: CONVERGENT.COM Aug 14 2018 04:43:00       Convergent Outsourcing, Inc.,     Attn: Bankruptcy,
                 Po Box 9004,    Renton, WA 98057-9004
26980439       +EDI: RCSFNBMARIN.COM Aug 14 2018 04:43:00       Credit One Bank,    Attn: Bankruptcy,
                 Po Box 98873,    Las Vegas, NV 89193-8873
26980440       +E-mail/Text: bknotice@ercbpo.com Aug 14 2018 01:16:50       ERC/Enhanced Recovery Corp,
                 Attn: Bankruptcy,    8014 Bayberry Road,   Jacksonville, FL 32256-7412
26980441       +EDI: BLUESTEM Aug 14 2018 04:43:00      Fingerhut,    Attn: Bankruptcy,    Po Box 1250,
                 Saint Cloud, MN 56395-1250
26980442       +E-mail/Text: jmoreno@hillcrestdavidson.com Aug 14 2018 01:16:01        Hillcrest Davidson & A,
                 Attn: Bankruptcy,    715 N Glenville - Suite 450,    Richardson, TX 75081-2898
26980444       +EDI: MID8.COM Aug 14 2018 04:43:00      Midland Funding,    2365 Northside Dr Ste 300,
                 San Diego, CA 92108-2709
26980446       +Fax: 407-737-5634 Aug 14 2018 02:40:03      Ocwen Loan Servicing, LLC,     1661 Worthington Road,
                 Suite 100,    West Palm Beach, FL 33409-6493
26980447       +EDI: PRA.COM Aug 14 2018 04:43:00      Portfolio Recovery,     Po Box 41021,
                 Norfolk, VA 23541-1021
26980449       +EDI: ECMC.COM Aug 14 2018 04:43:00      U.S. Department of Education,     Ecmc/Bankruptcy,
                 Po Box 16408,    Saint Paul, MN 55116-0408
                                                                                               TOTAL: 12

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
26980450*        +U.S. Department of Education,   Ecmc/Bankruptcy,   Po Box 16408,   Saint Paul, MN 55116-0408
26980443       ##+Law Office of Matthew R. Wildermuth,   33 North LaSalle, Ste 1900,   Chicago, IL 60602-4424
                                                                                              TOTALS: 0, * 1, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 15, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 13, 2018 at the address(es) listed below:
              David Gallagher    on behalf of Debtor 1 June M Lane dgallagher@uprightlaw.com,
               dgallagher@lawsolutionsbk.com,notices@lawsolutionsbk.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Steven R Radtke   sradtke@chillchillradtke.com, sradtke@ecf.epiqsystems.com
                                                                                            TOTAL: 3
